
USCA1 Opinion

	










                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT
                                 ____________________


        No. 96-1351

                                    DAVID FLEMING,
                                Plaintiff, Appellant,

                                          v.

                          DEPARTMENT OF CORRECTIONS, ET AL.,
                                Defendants, Appellees.
                                 ____________________


        No. 96-1352

                                DAVID GORDON FLEMING,
                                Plaintiff, Appellant,

                                          v.

                          DEPARTMENT OF CORRECTIONS, ET AL.,
                                Defendants, Appellees.
                                 ____________________


                    APPEALS FROM THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE

                     [Hon. Morton A. Brody, U.S. District Judge]
                                            ___________________

                                 ____________________

                                        Before

                                Selya, Cyr and Boudin,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            David Fleming on Memorandum in Support of Certificate of  Probable
            _____________
        Cause and on brief pro se.

                                 ____________________

                                    August 5, 1996
                                 ____________________

















                 Per Curiam.    David Gordon  Fleming  is a  Maine  state
                 __________

            prisoner incarcerated  at the Maine  Correctional Institution

            in  Warren (MCI-Warren).    On  March  1, 1996,  Fleming  was

            transferred  within MCI-Warren from Housing Unit C to Housing

            Unit B.   He was  later informed  that, "You became  loud and

            started  hollering trying  to incite  all the  inmates  in C.

            Wing,  your action[s]  were reviewed  by  the Program  Review

            Committee, and  they recommended that  you be returned  to B.

            Wing so that you would not disrupt the unit."   Shortly after

            the transfer,  Fleming filed  both a  civil rights  complaint

            pursuant  to  42 U.S.C.     1983,  Fleming v.  Department  of
                                               _______     ______________

            Corrections,  et  al.,  Civil  No.  96-70-B,  and  a  "habeas
            _____________________

            petition,"  Fleming  v.  Department of  Corrections,  et al.,
                        _______      ___________________________________

            Civil No. 96-77-B.  A magistrate judge recommended  that both

            filings be dismissed  as frivolous within  the meaning of  28

            U.S.C.      1915(d).     The  district   judge  adopted   the

            magistrate's  recommendations.  Fleming  now appeals from the

            dismissal of his  complaint in civil action No.  96-70-B.  He

            also  seeks a certificate of probable cause permitting him to

            appeal the dismissal of his "habeas petition" in civil action

            No. 96-77-B.1
                        1

                                
            ____________________

               1After Fleming  filed his  petition for  a certificate  of
               1
            probable cause in this  court, the President signed  into law
            the  Antiterrorism and Effective  Death Penalty Act  of 1996,
            Pub. L.  No.  104-132,  110  Stat.  1214  (April  24,  1996).
            Although Fleming  has not raised  the issue, we note  that we
            need not decide in this case whether any of the amendments in
            the Act apply since it would not alter our disposition.

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                                          I.

                 For  the following reasons,  we affirm the  dismissal of

            Fleming's complaint in civil action No. 96-70-B.  

                 Relying on  the Supreme  Court's decision  in Sandin  v.
                                                               ______

            Conner, 115 S. Ct. 2293 (1995), the district court ruled that
            ______

            Fleming  had no liberty interest  in being free from transfer

            to the "B-side" of MCI-Warren which would trigger due process

            requirements.  Fleming makes no meaningful argument that this

            ruling was in  error.  Instead, he criticizes  the holding of

            Sandin and suggests that, if it is the "new law of the land,"
            ______

            he has little  incentive to abide  by prison  rules.  We  are

            bound by  Supreme Court  decisions, and we  see no  basis for

            setting  aside the  district  court's  ruling  that  the  due

            process claim is frivolous.  

                 Assuming  without  deciding  that  the  issue  has  been

            preserved  on  appeal,  we  would  affirm  the  dismissal  of

            Fleming's equal protection claim as frivolous.   Fleming does

            not allege  that he  is a  member of a  protected class,  and

            there is  no suggestion that  the transfer to Housing  Unit B

            was the result of invidious discrimination.  See, e.g., Wolff
                                                         ___  ____  _____

            v.  McDonnell, 418  U.S.  539,  556  (1974)  (observing  that
                _________

            prisoners  are protected  under the  Equal Protection  clause

            against  invidious discrimination).    Mere inconsistency  in

            prison  management does not  support a  constitutional claim.

            See Shango v. Jurich, 681 F.2d 1091, 1104 (7th Cir. 1982).
            ___ ______    ______



                                         -3-















                 Finally,  the  notion  that prison  officials  "falsely"

            charged  Fleming with attempting  to incite other  inmates in

            retaliation  for his  having filed a  lawsuit in  Maine state

            court is sufficiently implausible, on the facts of this case,

            to  warrant the  dismissal of Fleming's  retaliatory transfer

            claim as frivolous.   See Neitzke v. Williams,  490 U.S. 319,
                                  ___ _______    ________

            327 (1989) (observing that   1915(d) accords judges the power

            to "pierce the veil" of the complaint's factual allegations).

            Fleming   admits  to  the  underlying  conduct  found  to  be

            objectionable,  though not to  its characterization by prison

            officials.   The  particular  officials who  reported Fleming

            were not defendants in the  Maine lawsuit.  And, although the

            Maine lawsuit was pending at  the time of Fleming's transfer,

            it was shortly thereafter dismissed as totally frivolous.  

                 Fleming's  remaining  arguments   do  not  appear   with

            sufficient clarity in his complaint or are  waived on appeal.

            Under the circumstances, and for the reasons stated above, we

            find no error in the dismissal of the complaint.  

                                         II.

                 We  also deny  Fleming's request  for  a certificate  of

            probable cause in civil action No. 96-77-B, and we  summarily

            dismiss the appeal.  See  Loc. R. 27.1. 
                                 ___

                 To the extent that Fleming's "habeas petition" is better

            construed  as a    1983  complaint,  leave to  appeal is  not

            necessary.   However, we  have already rejected  as frivolous



                                         -4-















            Fleming's  claim that the  transfer to "B-side"  violated his

            right to due process.   We are also  persuaded that in  civil

            action No. 96-77-B,  Fleming abandoned any    1983 claims  in

            his  objection  to  the  magistrate's  report  and subsequent

            filings.  

                 Fleming, however, would  have us construe his  filing in

            civil action  No. 96-77-B  as a habeas  petition.   He argues

            that inmates at  Maine State Prison are permitted  to earn up

            to three work-related  good time  credits in  any month,  and

            that  inmates  at  MCI-Warren,  himself  included, have  been

            unlawfully limited to only one or two  credits per month.  We

            do not think this claim was raised with sufficient clarity in

            Fleming's "petition,"  which focused on the facts surrounding

            his  transfer  from  one housing  unit  within  MCI-Warren to

            another.  Accordingly,  we deny the request for a certificate

            of probable cause.  See Cacoperdo v. Demosthene, 37 F.3d 504,
                                ___ _________    __________

            507 (9th  Cir. 1994) (grounds  not raised in  habeas petition

            are not cognizable on appeal),  cert. denied, 115 S. Ct. 1378
                                            ____________

            (1995).















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